                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       at WINCHESTER




 UNITED STATES OF AMERICA                               )
                                                        )       Case No. 4:09-cr-5
 vs.                                                    )
                                                        )       MATTICE / LEE
 SHELLY CROWNOVER                                       )


                                              ORDER


        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the forty count

 Indictment (2) accept Defendant’s plea of guilty to the lesser offense of the charge in Count One, that

 is of conspiracy to manufacture, distribute and possess with intent to distribute methamphetamine

 in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C); (3) adjudicate Defendant guilty of the

 lesser offense of the charge in Count One, that is of conspiracy to manufacture, distribute and

 possess with intent to distribute methamphetamine in violation of 21 U.S.C. §§ 846, 841(a)(1), and

 841(b)(1)(C); (4) defer a decision on whether to accept the plea agreement until sentencing; and (5)

 find Defendant shall remain in custody until sentencing in this matter [Doc. 140]. Neither party filed

 a timely objection to the report and recommendation. After reviewing the record, the Court agrees

 with the magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and

 ADOPTS the magistrate judge’s report and recommendation [Doc. 140] pursuant to 28 U.S.C. §

 636(b)(1) and ORDERS as follows:




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       (1)   Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

             is GRANTED;

       (2)   Defendant’s plea of guilty to the lesser offense of the charge in Count One, that is of

             conspiracy to manufacture, distribute and possess with intent to distribute

             methamphetamine in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C) is

             ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser offense of the charge in Count

             One, that is of conspiracy to manufacture, distribute and possess with intent to

             distribute methamphetamine in violation of 21 U.S.C. §§ 846, 841(a)(1), and

             841(b)(1)(C);

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Monday, August 10, 2009 at 10:30 a.m. before the

             Honorable Harry S. Mattice, Jr.

       SO ORDERED.

       ENTER:



                                                         /s/Harry S. Mattice, Jr.
                                                         HARRY S. MATTICE, JR.
                                                    UNITED STATES DISTRICT JUDGE




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